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EXHIBIT J
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             Exhibit J- Twitter^s Discriminatory Animus
                                           Towards "Whites"


            [((Elect Nobody})]
            (n Elecl Nobody

      @kareiilytle711 (g)justinamash It s not #misogyny. I hate
      Bill just as rnucti as I hate Hillary. They are both
  v/armongerlng criminals who should be hung, drawn,
  and quartered

        Nobody's tweet that resuited in a perma-ban.
                                                                        Exh. J-1. Tagged 12/26/19
https://freekeene.eom/2019/10/20/twitter-permanentlv-bans-candidate-for-nh-governor-
nobodv-for-hvperbolic-clinton-comment/




            Danielle Stella
            4 hrs ■ O

 "Omar Challenger Says She Should be Hanged for Treason if Reports of
 Qatari Recruitment True"



  0

  /l\
  1
  l\




 https://thcrundownncws.com/.../omar-challcngcr-says-sho-shou.../
                                                                         Exh. J-2. Article 11/30/19
https://www.vox.eom/policv-and-politics/2019/ll/30/20989348/twitter-ban-danielle-stella-
ilhan-tweeting-treason-hanged




                                                                                     EXHIBIT J
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TXvitter CEO Jack Dorsey's Account Briefly Suspended
Only the company can suspend accounts

        ByD«fpaS«>iihia^aimn
        Updated Mac 2:. 20l£. 11 04 pm ET


        e ffiNT aA Tcn

        The Twitter account ofco-founder and CEO Jack Dorsey was briefly suspendedTuesday
        night before beingreinstated.

        It II unclear why Mr.Dcriey'i acccurit vcai tuipended for about a half hour. VAten hii
        •jcccunt war rcinrtated aj ouiid r' IS 5:1,tr: EST it initi'tlly had fewer   200 rVIl.-W(-rr




                                                                                                        Exh. J-3. Article 11/22/16
https://www.wsi.com/articles/twitter-ceo-iack-dorsevs-account-brieflv-suspended-
1479871858?mod=e2twd


    A V Dianne ^
    iy* fijDIa nn e C ovTefe
   Please report Kathy Griffin's account She hasnt been suspended
   but the guy on the left had his account suspended for this pic


                                                       The answer to
                                                    offensive speech
                                                     Is more speech.




   O 6 b 29 PM • May 30, 2017                                                         ©

    A See Dianne ^^              "s other Tweets                                       >




          Grizzled
          i^'GnictiedOld'^oat


       I am suspended by Twitter for calling out Kathy Griffin apologists
    Kathy Griffin? Not suspended




                                                                                                       Exh.J-4. Tweet 05/11/17
https://ilr.com/kathv-griffins-twltter-account-stlll-going-strong-heres-cracking/




                                                                                                                     EXHIBIT J
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Twitter permanently bans Alex Jones
and infowars accounts
PUELlSHEO THJ. SEP 6 2018.4:46 PM £ &T i UPDATED FRI. SEP 7 2018.12:00 PM EDT


      Sara Salinas

o                    AS
                                                                                 f #


                                                                                 Exh. J-5. Article 10/07/18
https://www.cnbc.eom/2Q18/09/06/twitter-permanentlv-bans-alex-iones-and-infowars-
accounts.html


Laura Loomer banned from Twitter
after oritloizing llhan Omar
The fai'-riglit acti\ast had more than 260.000 followers on the
platform before her suspension.




                                                                                Exh. J-6. Article 11/22/18
https://www.nbcnews.com/tech/securitv/laura-loomer-banned-twitter-after-criticizing-iihan-
omar-n939256




                                                                                             EXHIBIT J
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       Sara Miller
0
 Of course Twitter doesn't inform his followers
 @ReaIJamesWoods has received the following email

   Your account,
    ©RealJamesWoods has been
   locked for violating the
   Twitter Rules.

    Specifically for:

    Violatir^ our rules against abusive t>ehavior.
    You may not engage in the targeted harassment of
   someone, or incite other people to do so. We
   consider alxisive behavior an attempt to harass,
    intimidate, or silence someone else's voice.



                   James Woods
                   <.';'neaiJafti<?sV'/oods


        "If you try to kill the King, you better not
              **                  A II



 C? 6,903 13 33 PM • Apr 20, 2019                      0
                                                           Exh. J-7. Article 04/30/19
https://www.dailvwire.com/news/iames-woods-twitter-iail-heres-tweet-got-him-amanda-
prestigiacomo




                                                                         EXHIBIT J
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DAVID HDRDWITZ SUSPENDED FRDM
TWITTER **UPDATE: ACCOUNT RESTORED**




S. AllCM CO«H^KI


                                                          Exh.J-8. Article 05/07/19
https://www.breitbart.eom/tech/2019/05/07/david-horowitz-suspended-from-twitter/




Twitter stands by
suspending Fox's Hegseth
for posting Pensacola
terrorist's manifesto
by Mike Brest
            |December Or', 201:'1014 AM




                                                          Exh. J-9. Article 12/09/19
https://www.washingtonexaminer.com/news/twitter-stands-bv-temporarilv-suspending-foxs-
hegseth-for-posting-pensacola-terrorists-manifesto




''Self-described feminist banned from Twitter says platform is setting 'dangerous' precedent"

                                                               Exh. J-10. Article 12/06/18
https://thehill.eom/hilltv/rising/420033-self-described-feminist-banned-from-twitter-savs-
platform-is-setting-a




                                                                              EXHIBIT J
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"Arizona Senate candidate Craig Brittain received the ultimate punishment today from his
favorite social network.Twitter suspended Brittain for the second time, effectively banning
him from the platform."

                                                                 Exh. J-11. Article 06/30/18
https://www.phoenixnewtimes.com/news/twitter-suspends-arizona-senate-candidate-craig-
brittain-10284184




"Twitter suspends American far-right activists' accounts"

                                                                Exh. J-12. Article 11/16/16
https://www.theguardian.eom/technology/2016/nov/16/twitter-suspends-american-far-right-
activists-accounts




"Twitter recently has suspended more than a half a million accounts for ISIS and other
terrorist material. World Net Daily for reporting on the Seth Rich murder, numerous so-called
"alt right" individuals".

                                                                Exh. J-13. Article 05/30/17
https://iir.com/kathv-griffins-twitter-account-still-going-strong-heres-cracking/


 Matt Gaetz Files FEC Complaint Against
 Twitter Over Shadowban




 Rep. Matt Gaetz(R-FL)filed a Federal Election
 Commission (FEC)complaint against Twitter foilowing
 revelations the social networking giant shadowed his
 account.
                                                               Exh.1-14. Article 07/28/18



                                                                                    EXHIBIT J
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https://www.newscats.org/?p=16336

Published on February 12, 2019

It Isn't Your Imagination: Twitter Treats
Conservatives More Harshly Than
Liberals

 written by Richard Hanania




                                                            Exh. J-15. Article 02/12/19
https://quillette.com/2019/Q2/12/it-isnt-vour-imagination-twitter-treats-conservatives-more-
harshlv-than-liberals/




                                                                             EXHIBIT J
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EXHIBIT K
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                              EXHIBIT K- Public Perception



                             This typeform is now closed

      SOCIAL MEDIA PLATFORMS should advance FREEDOM OF SPEECH.
   Yet too many Americans have seen their accounts suspended, banned,or
                           fraudulently reported
                  for unclear "violations" of user policies.

    On May 15, President Trump asked Americans to share their stories of
                          suspected political bias.
  The White House received thousands of responses—thank you for lending
                                         your voice!


                                                                Exh. K-1. Tagged 12/26/19
https://whitehouse.tvpeform.com/to/Jti9QH




"Texas Senator Ted Cruz and FCC Chairman Ajit Pal have repeatedly blasted Big Tech over
this supposed antl-conservatlve bias."

"When It comes to an open internet. Twitter Is part of the problem," he said."The company
has a viewpoint and uses that viewpoint to discriminate."(FCC Chairman AjIt Pal)

                                                                Exh. K-2. Article 06/13/19
https://www.mediapost.eom/pubiications/articie/336990/twitter-defeats-lawsuit-bv-
iournalist-banned-for.html




"Twitter CEO Jack Dorsey: I 'fully admit' our bias Is'more left-leaning'"

Twitter CEO Jack Dorsey said on Saturday that he "fully admlt[s]" Twitter employees share a
largely left-leaning bias after facing accusations that conservatives are discriminated against
on the social media platform.

                                                                Exh. K-3. Article 08/18/18




                                                                              EXHIBIT K
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https://thehill.com/policv/technologv/402495-twitter-ceo-iack-dorsev-i-fuliv-admit-our-bias-is-
more-left-leaning




          Donald J. Trump O                                        #
          'ajrealDonalrJTrurnp

  Twitter "SHADOW BANNING" prominent Republicans. Not good.
  We will look into this discriminatory and illegal practice at oncel
  Many complaints
 '1 4 4(. 6 46 ,;VM ■ .J u I ;•6, 2d 1 6                            <1)

  Q 79 4K people are talking about this                                 >
                                                                             Exh. K-4. Tweet 07/26/18
https://www.rt.com/usa/434682-twitter-shadowbanning-conservatives/



''June 2018 Pew poll found that 72% of Americans believe that social media companies censor
views they don't like".

                                                                            Exh. K-5. Article 02/12/19
https://quillette.eom/2019/02/12/it-isnt-vour-imagination-twitter-treats-conservatives-more-
harshlv-than-liberals/




                                                                                        EXHIBIT K
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EXHIBIT L
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       Exhibit L- **White" Hate by Blue Check'ers

        Chris Burney d
       (S;'ScMjpBov.'lerC hfii

I hate white people.
09 I 2 07.i.M - Jijl 2b 2009
                                                                           18.IK followers

                                                                           Exhibit. L-1


        Kevin Hart Q
4       iS'it e'vinHa04fPdi


It's black history month twitches, which means that we are allowed 2
punch white people in the BACK OF THE HEAD without any
consequences

O 62 2 03 PM - Feb 6, 2010                                           fT)
                                                                           36.2 million followers


                                                                           Exhibit. L-2


       Jim Jamitis
       icTOimJaniitr;.


Dont know about you. but I hate white people. Every last iota of a
cracker.

   9 6 10 PM-Jijl 7, 2010                                            ©
                                                                           7,971 followers

                                                                           Exhibit. L-3


       Stretch Armstrong O
       (S''Stretch.Arrny

Replying to @ja>(bchgiil521
@jaxbchgirl521 yes. I hate white people. You clown
   3   10 51 PM - Ijct 28 2010                                       ©
                                                                           35.9K followers


                                                                           Exhibit. L-4


       jen grea O
       (SvJeanGreasy

Especially the ones named SUSIE , blecccccch. RT @susienorgaard
@JeanGreasy ughhh white people are the WORST
  1    1 2 05.AM ■ Jan 30, 201
                                                                           130.6K followers


                                                                           Exhibit. L-5




                                                                                        EXHIBIT L
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I'm not even hungover, I'm just tired and I hate white people.
— THE BLACK MADONNA(@blackmadonnachi) March 12, 201

                                                                        35K followers

                                                                        Exhibit. L-6


         Pigeon John O
 •       (gdothepHjeon

FUCK WHITE PEOPLE

c'.' 6 10 45 F'M - Apr 21 . 2011   RouPai;;, Francc               ©
                                                                        9,347 followers

                                                                        Exhibit. L-7




         Teddy Greenstein ^
         ©TecidvC'reenstein

Watching The Help. Man. I hate white people
G' 12 30.AM ■ C'ec 22. 2011                                       a.)   25.5K Followers

                                                                        Exhibit. L-8




         Nick No War Mamatas i *            O
         (CT'MMarnata?


1 sure wish I could get a job as Ron Paul's ghostwriter, but my
problem is that I hate white people, not black people.
2 1      y 51 FM - Ciec 23, 2011                                  0)
                                                                        7,791 followers

                                                                        Exhibit. L-9


         your god O
         fi'MovaRockafeiier


White people are dumb when it comes to racism
     1   o 14 pm ■ sep 14,201 1
                                                                        13.4k followers

                                                                        Exhibit. L-10




                                                                                     EXHIBIT L
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I Hate White People That Donl Seem Scared Of Niggaz .Nigga U Betta Fear
Me..lol.Sike Na-YoungMarley
— Fool Boy Oh Boy (@Foo!BoyMarley) January 10, 2012

                                                                                2,060 followers- Blue Check

                                                                                       Exhibit. L-11


  ^ Hartley Sawyer0
    !' ffHattievSavvver

I hate white people
  io     1 52 PM ■ Jun 22 201 2                                           r.J
                                                                                       42.7K followers

                                                                                       Exhibit. L-12


     Samore                         vMis.joi:'                            '
       I had 3 white guys ask if they can slap my ass last night when I
       said no 2 said ur a party pooper and the other said u cant blame
       me lol

        Kristina Kage Q
        fi'l nstiiiaCifiAir

@ash_more I hate white people
C' 3 1 49 PM - Jul 15, 2012                                               ©            3,899 followers

                                                                                       Exhibit. L-13


       Rear Admiral O                            jui is. I'Oij            #
       ReplvinC) to I'a'jt-rty'thorritonl
       @eftythomtonl @f4ovieOuoter"l already am sorry"
        Jerry Thornton O
        G'letr.-lhorritonl


(5>RearAdBsBlog i5jMo>(ieOuotef "I HATE white people Especially
rednecks I am your worst nightmare "
     3 50 PM-Jul l 5, 2012                                                ©
                                                                                        87K followers

                                                                                        Exhibit. L-14


         Organik - KOTDTV.com ^
         ®OrciatiinHipHop

 Fuck White People
'16       3 42AM-Aija 1 1 . 2012                                          (i)
                                                                                        61.9K followers

                                                                                        Exhibit. L-15




                                                                                                     EXHIBIT L
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   I hate white people. Your white faces... freckles like satanic glitter on a pale
   glow in the dark demon... You can see the blue blood ew.
  — Ouija Macc (@ouijv) November 1 1 , 2012
                                                                                      7,892 followers- Blue Check

                                                                                            Exhibit. L-16


        Dana DeArmond .-f Incorporated .'f O
        iSdan.siijearrnond


It's official. I hate white people
v.y 19 6 40 PM- Dec 23. 2012                                           ©
                                                                                            259.5K followers

                                                                                             Exhibit. L-17


         Jameson Draper O
         fajiar'odraper

©FreeBigMacs I HATE WHITE PEOPLE
 w' 1   9 1 1 PM - Dec 29 201 2                                        ©
                                                                                             1,889 followers

                                                                                             Exhibit. L-18

^ Christian i5'I.Air,VhriiVVcii!ri-?r .J.an 31, :'01 3
        Reply ing to @htlriick
        @htinlck It's more awkward when I say it at a white person

         GOITERLVR69 O
         i®htlnick


@gbchristian eww, I hate white people
O' 19 6 2c;PM- .Jan 31. 20! 3                                          ©
                                                                                             12K followers


                                                                                             Exhibit. L-19


'         Zachary Roth O
          (S/zackroth

 Replying to @joeytria"le\vr3
 @joeymaxlewis (Silvnroijsel WHITE MEN are the WORST!
 O 2 2 33 PM ■ Feb 26. 201 3
                                                                                             5,306 followers

                                                                                             Exhibit. L-20




                                                                                                          EXHIBIT L
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^ Japers'Rink O €'Japer:Rint. Maf 5. 20n                                    ^
        Looking forward to all the racist things B's fans will tweet about Eric
        Fehr now. you guys!

        Cornelius Hardenbergh o\> ^
        (giHBAdvenfure

@JapersRink 1 . hate white people? Yes. Yes I do
C/' 1   10 44 PM - M.St 5, 201 3                                            (])
                                                                                  2,173 followers

                                                                                  Exhibit. L-21

        Andrew Lowe O
        (S'andrevYlov.'e


it literally smells like eggs and vinegar when i walk outside i hate
white people
O 37 b 22 PM - Mar 31 . 2013                                                O
                                                                                  437.9K followers


                                                                                  Exhibit. L-22


        Damon 6 O
        i3"'DK3rrna


STUPID ASS WHITE PIECE OF SHIT

O 2 6 37.AM • Feb 27, 201 3                                                 CO
                                                                                  645.8K followers

                                                                                  Exhibit. L-23


         Steve Howey @
         (■aHtevehovvev

Old white men are the worst Old black women are the best.

O 50      2 24 PM • Jun 2. 201 3                                             0)
                                                                                  336.2K followers

                                                                                  Exhibit. L-24


         Benedict Garrett-Djebali O
         (a'BenedictC'SrrPtt

@trayce420 Yes I hate white people.
O 2     5 53 PM - Jun 1 5, 201 3                                             CD   24.2K followers


                                                                                  Exhibit. L-25


@GetaldoRivera yeah. White people are stupid.
— Ben (@BenHowe) June 28, 2013

                                                                                  335.2K followers

                                                                                  Exhibit. L-26




                                                                                               EXHIBIT L
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        Bunni           O
        ®Acta0u n n IF00F00

I'm going to drop some knowledge that will help you get through life..
Fuck white people
C; 1 4 54 PM-Nov21, 2013                                                   Q
                                                                                  53.5K followers

                                                                                  Exhibit. L-27

  ^ AndyRiClrter O ig'AnciyRichtef         4,:014
       If at car wash you walk around & point out 6 places that the poor
       guy"missecT, at least get off your fucking phone while u do it.
       whitey

        Louis Peitzman O
        S'LouispHitzrnan


@AndyRichter I hate white people.
c:- 18 4 33 PM - Feb 4, 2014                                               ©
                                                                                  65K followers


                                                                                  Exhibit. L-28


        Lunar C O
        raiLunarCFT


 Fuck white people
 O 27 10 42 AM-Mar 30. 2014                                                 Co
                                                                                  63.3K followers

                                                                                  Exhibit. L-29


       Old Yeller Teas^
       fi^/osoyrnichael

I hate white people, youtu be/yvaNAiAvv5jE
'v '   4 31;:: PM ■ .^.pr 4, 2U1 4                                         (i )
                                                                                  11.5K followers


                                                                                  Exhibit. L-30


       ^          Vo
                n€''',4h0rn e tri0

  hate white people. Reverse racism is real!
,0 36 4 35 AM ■ .Jun 20, 201 4                                             ©
                                                                                  76.5K followers

                                                                                  Exhibit. L-31




                                                                                              EXHIBIT L
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      Lara Parker O
      ijJ'I'ardeparr.er

Straight white men are the worst, tbh
O7    1 2 53 AM • Jul 14 201 4
                                                                            25K followers

                                                                            Exhibit. L-32

     Shh/am Bhatt raei-^Kif otai Aug 3. jo 14
     Replying to S'bovmonrter
     @boymonster how is that even possible? she positively radiates
     halfasian

      Cam Banks O
       ©boymonster

@elektrotal White people are stupid
O 9 53 PM-Aucj 3, 2014                                                ©

^ See Cam Banks's other Tv/eets                                         >
                                                                            8,778 followers

                                                                            Exhibit. L-33

     matt morgan O ^matimof gn Oct 14,2014
     smashhhhhhh youtube com7watch?v=BcPzEE

      GOITERLVR69 O
      (0htlnick

@mattDBF 6/10 - but then again, I fucking hate white people
O1    3 09 PM- Oct 14. 2014                                           ©     12K followers


                                                                            Exhibit. L-34


 J Thomas'TomSka'Ridgewell ® O                    i Oct 14,2014     ^
     Replying to ra4>:-n|.sn-i;n_C'joC
     @benjamln_cook careful Ben, every time we tweet at each other it
     ends up screenshotted and posted on Tumblr by outgoing people
     with lives.

      Benjamin Cook ^
      (S.}beniarTiin_cook

@thetomska I hate white people
O 85 3 34 AM ■ Oct 14, 2014                                           ©
                                                                            80.8K followers


                                                                            Exhibit. L-35


      Hosp. ^ O
       ®Hospev

I hate darkness. I hate racists. I hate white people
w'15 4 15 PM - Oct 10, 2014                                           ©
                                                                            3,512 followers

                                                                            Exhibit. L-36




                                                                                         EXHIBIT L
            Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 20 of 85




      skullsinthestars @'c!r:i. v s k u!i Apr i s, 2015                 ^
      Peplymg to S'y-aryLegurri
      .@GarYLeguin It's true! I'm White Genocidlng myself all the time by
      eating foods high in saturated fat!

       Gary Legum ^
       ©Garylegum

 ©drskyskull Good, that will save the Left the trouble of putting you
 against the wall when we commence the plan to genocide white
 people
 C,'' 9 48 PM-Apr 18, 2015                                              ©
                                                                            12.2K followers

                                                                            Exhibit. L-37

          lain Stirling O
       (SMainDoesJokPs


 Early in the morning in this airport and a couple are rubbing their
 chins together and mouthing "I love you". I fucking hate white people
 c;' 102 2 13.-.M • .Jul 4, 2015                                        ©
                                                                            269.2K followers


                                                                            Exhibit. L-38


       DADITO CALDERONE ^
 ¥     ,®TAj;STOr.iE

 Fuck white people
 © 20 4 52 PM • ..iijl 22. 201 5                                        ©
                                                                            74.5K followers


                                                                            Exhibit. L-39



% -f Jeff Madsen O
       fa\JefiWadsenubv


fuck white people
 © 6 5 31 PM-Octe. 2015                                                 ©
                                                                            19.9K followers


                                                                            Exhibit. L-40


          ^"fenwick O
          (a'torndefeat

 white people are the worst
  G' 3 10 57 PM - NovS, 2015                                            ©
                                                                            1,279 followers

                                                                            Exhibit. L-41




                                                                                        EXHIBIT L
               Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 21 of 85




        Christina Warren O
        fi'i'iitn atri


Fuck white people
V- 22'? 1 2 56 AM ■ r-lov M, 2016 Btookiyn. fiv                           0)
                                                                               91.7K followers

                                                                               Exhibit. L-42


         Andy Cohen O
#         aAridV

Replyiinj to @1,ARMAti68
yes I am racist! I hate white people!
    1 28 4 41 PM ■ Ciec 14, 2016                                          0)
                                                                               2.3 Million followers

                                                                               Exhibit. L-43


           RIP SAMSON RULEZ &
          (S'SamsonRijie:

 Fuck whites

 On         1 12AM- Sep I'O, 2017
                                                                               133.IK followers

                                                                               Exhibit. L-44


           Give Your Money To Biack Women O
           ff'LOJllOMOC


 All white people are racist                 twitter com/faithfortune99
  22 4 7 9 22 AM ■ Oil 1 '?, 201 7
                                                                               41.3K followers

                                                                                Exhibit. L-45


            Rosa Sparks@ Dainty Thug Podcast v- O
           (:i''MzYumrnvDre.ii'J

 R e p IV1 n ij to I'ii s c k s fil n i •?
 This is what we mean by saying all white people are racist
         9 26AM- Mdi 6, 2013
                                                                                4,508 followers

                                                                                Exhibit. L-46




                                                                                             EXHIBIT L
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       Arthur Chu O
s      i®ar1hut af!>ct

I just want to make this crystal clear to everyone who follows or is
considering following me

The difference between pedophilia jokes and attacking white people
is that pedophilia jokes are bad. while attacking white people is good
          12 4 3PM- Auc) 2, 2010                                        0.)
                                                                              40.IK followers


                                                                              Exhibit. L-47


 9 Ferrari Elite Sheppard @                                            W
       I'a^stopbeinyfamoijs

White people, you gotta stop calling the police because you're racist
Have you not noticed, we will ruin your life?
O 4 3 6 53 PM • A.ijg 2, 2018                                          0
                                                                              57.6K followers

                                                                              Exhibit. L-48


      Sophie Weiner 0
       ®=.ophcv/

everyone should talk about how much white people suck as often as
possible, thanks
   4 7 6 23 PM - Aua 2. 2013                                           'vi.
                                                                              6,742K followers

                                                                              Exhibit. L-49


      Tressie McMillan Cottom O
      (a'tresiiemcphd

Anyway Sarah is very good and you cannot be racist against white
people and that is official science
■r-' 31 7 12 25 AM • Au g 3. 2 013                                     ©
                                                                              109.3K followers

                                                                              Exhibit. L-50

         Dusty Baker 0 'giOgSa'aggerclick Mar 5
        Yo fuck these racist ass white people in Boston
         Q 3                   ti 12            © 76
                                                                              19.7K followers


                                                                              Exhibit. L-51




                                                                                          EXHIBIT L
         Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 23 of 85




9JeffreyWlright O @iireev.fight iih
 On-point read 3yrs ago!
                                                                     ^
     If u wanted the most dangerous useless panicky bitch during Ebola
     to lead the US thru coronavirus, @reaiDonaldTrump is it. Big
     platform. Loud. Relentlessly ignorant. Wrong on EVERYTHING
     Ebola NONE of his 'ideas' undertaken. No Americans died. See us
     now. tv'>flttercom/motherjones/st

       Mother Jones O a Mcttier .ione:
       How the Ebola crisis helped launch Donald Trump's political
       career mojo lyf2oAU81 V




                  Tho U.S cannot         tBOLA nfocted ocop'o
                  txick Poop'c that go to tar away places to hop
                  oot are g'eat biit must suftc the consequences'




      Jeffrey Wright Q
      I'cfjtreevvnght

Sad to think @realDonaldTrump's obvious limp weakness during
Ebola could be perceived as strength by the Great White Dope
crowd. No good for them now No good for anyone. Pathetic
C' 189 7 50 AM • Mat 11 , 2020
                                                                         246.7K followers

                                                                         Exhibit. L-52




         ooah
X
can someone please stab Trump in the neck
already
  . Av      :    , .■ .                     f-ttr-     /4-rhV.tf.fc
                                                                                26K followers

                                                                                Exhibit. L-53




                                                                                     EXHIBIT L
             Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 24 of 85




        I tovo vWoo OORtM^ ® V;r.ilkr •' » CO• CO
        ^epyo; t-j            CX.C5
        OTcn-.r''- c-'. Fochwtvtopeop^
                                                            53.5K followers

                                                            Exhibit. L-54




             Jordan Vallnsky # c


abolish white people
                                                            4,047 followers

                                                            Exhibit. L-55



       Prema P. Lsl, Ea^


Only white people like Trump should be
allowed to die for their shitty country V
         •             hi ip ; . , ar c H1V . f o/Sclu.iA

             u
                                                            9,482 followers

                                                            Exhibit. L-56



         MoohoKashorO

4        I HATE WHITE PEOPLE

                 toe
                                      oc K-r.r,

                                           &o




                                                            Exhibit. L-57

       AatnUngC


                               Ood I ruce tfv to rT•«x^
                                                            60.5K followers

                                                            Exhibit. L-58

9
Sorry. I just I get rooQy oxotod about wtvto
genocide, tt s gonna tM the tiest genoode
ever. I mode a pLnterest tx>ard for a.                      231.9K followers
                                                            Exhibit. L-59




                                                                        EXHIBIT L
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       Bfoofce BJnkowBki


        Olorvv>^l.«»<*c


 Well how else could we keep the white
 genocide going? ht t p ; / ,tf( h 1 vr f t)/ *UMs(
                                                                          48.4K followers

                                                                          Exhibit. L>60

     Boo/vnn WttfSi ®          o.
                          . , .if'chi ve. i S' lOVOi
     icetaw          Mora laa rtvw*CA           MT        >0^499 »*« aa
              t^a3         1    t           «   -a   ^        -


                                                                          72.5K followers

                                                                          Exhibit. L-61



    Caryn Roto


fuck white men
fuck the white women who voted for Trump
                                                                          8,088 followers

                                                                          Exhibit. L-62



        Pete Dominick #


                           ^••p:        .^rrr > v#- 'o   i; tC!-*


   irainafortini fuck white people
                                                                          40.2 followers


                                                                          Exhibit. L-63


         Bob The Drag Queen ©
         ht t p: / '.u t h i vi'. t s/Au8r 1

         to                     :y-



 Fucking white people!
                                                                          366.3K followers


                                                                          Exhibit. L-64




                                                                                      EXHIBIT L
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             SYDNEY CASTILLO                            •C     OV


 w
 Why can't nobody sucker punch Trump?
 Priorities all messed up.
                                      H! I p: - ar < h i vt'. fo' 1 qOss
                                                                                             11.7K followers

                                                                                             Exhibit. L-65



someone from the crowd at sni please just
run up and punch trump in the face
                       -.tip     jrtf ;           to           ."N
                                                                                             30K followers


                                                                                             Exhibit. L-66

           Hosp the PfuQ ^# j


           I hate darkness. I hate racists. I hate
           white people
                                  -         ht tp           .1' I h          ^ % 4kc)«=*.H
                                                                                             3,514 followers

                                                                                             Exhibit. L-67

      CdMHnrtcmO
o
c.\ovvVc.vsRcso ij'oon Fuck whito peopfo.
you am t shit. I m done with you. 2014. you
going down. Black Powwowl!!
                                                                                             9,690 followers

                                                                                             Exhibit. L-68

          motherslster. B



1 have a deep seeded hate towards white
folks, y'all gon' lynch me now?I
...           . . . http://arc hivf.1s/Qjsqf
                                                                                             1,778 followers

                                                                                             Exhibit. L-69

                        O             .

ii   ~ •> -. Ots.'vcM*!
     mfK't       » arm txur^   O..*
                                            »jc« awa paopfli
                                           eccor.«r:cr> M
                                                                      gaoe


                               ^ t t [1:       rr h I e fo j t        h




                                                                                                         EXHIBIT L
           Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 27 of 85




                                                                 Exhibit. L-70
M.'\ Lara Wttt O


Also white people are evil. Whiteness is evil.

                                                                 38.2K followers

                                                                 Exhibit. L-71
  ^   Jon ScMown   O ^.


t hate white people:                                             5,146 followers

                                                                 Exhibit. L-72




             http://archive . fo'lwElO
La La Land sucked Trumps nuts. Nazis suO
Trumps nuts. I think we should kill Trump &
everything attached to his nuts.
                                                                 24.4K followers


                                                                 Exhibit. L-73



        Hemont Mehta




©ikebarinhoitz Or just shoot Trump twice? :)
 .                        ilttp   /.It V h 1 .»• . to SIH) ).'
                                                                 69.8K followers


                                                                 Exhibit. L-74




                                                                              EXHIBIT L
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EXHIBIT M
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                          Exhibit J- White Hate on Twitter


          Osman Faniqi O


   Mediocre white people: they should be in the
   bin but instead they own everything and are
   every fucking where.

   4        »

                                                             Exh. M-1.Tagged 12/25/19
https://twitter.eom/angrvnation3lis/status/1193269679965401088/photo/l




         alex cranZ@
         •@ale:'.hcrdn2


 From elementary school through college I went to
 school with sheltered upper middle class white boys
 who could DEVASTATE with a smirk. A facial guesture
 that weaponized their privilege. Infuriatingly you can't
 fight that fucking smirk with a punch or words.
 3:11 PM ■ J.3n 19. 2019 Twitter for iPhone


 153 Retiveets    527 Like;



         Q                    n               e?
                                                            Exh. M-2.Tagged 12/25/19
https://twitter.eom/alexhcranz/status/10867177905586Q94087ref src=twsrc%5Etfw%7Ctwca
mp%5Etweetembed%7Ctwterm%5E1086717790558609408&ref url=https%3A%2F%2Ffreebea
con.com%2Fblog%2Fmavbe-reexamine-vour-life-if-vou-want-to-punch-a-kid-in-the-face%2F

 X Lana ©Lanaio.kteff • Nov 18, 2017
 Verified & approved by Twitter

                 Rae Sanni0 @raesanni • 23 Sep
                 Yes. rm a racist. I hate white people
                 most of all you. You happy now?

                     This quoted Tweet is unavailable.

                 Q 90                  67     O 67   B
                                                            Exh. M-3.Tagged 12/25/19



                                                                         EXHIBIT M
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https://twitter.eom/AngeloJohnGage/status/932301218633920513



        Divan M. ©MKcaAstir      Mar 26. 2015
 <ii0   I'm so anti-white that I moved to the US solely to commit
        »'A'hiteGenoade & declare it a brown nation. Woo.
        ^HowAntiWhiteAnoYou

            1              T.i
                                                                        Exh. M-4.Tagged 01/05/20
https://twitter.eom/NxxxxAstar/status/581232603581190144




      Kayla '@dertionbees_ ■ 14h
      On behalf of white people, I am sorry. Kill us now

        'i^greggnog @popLOCr,Edropit ■ Dec 2*}
        White people truly have to be stopped




                                                        n




                            ^                ^'                     ^   Exh. M-5.Tagged 12/25/19
httPs://twitter.com/search?a=KILL%20WmTE%20PEOPLE&src=tvped query




                                                                                   EXHIBIT M
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      Ositadinma B. Akaeme ©OiydPhatrnD ■ Dec 2i
    f ^ ^^ This will not fly today Bro... Eddie Murphy is a comical
      genius... "Kill The White f^ple" this is so wrong. I'm happy he is doing
      SNL one more time




       ^                   •                     =               -               Exh. M-6.Tagged 12/25/19
https://twitter.com/search?q=KILL%20WHITE%2QPEOPLE&src=tvped query




      Ivan 9 « Cdvann.ooze ■ Dec 22
      If we pushed a "kill pieces of shit' button most white people would be
      dead. And I don't mean that with hate, from the beginning of history all
      white people have done is kill and lie to get what they want and that
      shit dont fly.
      Q                  n                   v   1
                                                                                 Exh. M-7.Tagged 12/25/19
httPS://twitter.com/search?a=KILL%20WHITE%20PEOPLE&src=tvped query




      .Author of Quixote S3p.rri_aq    Dec 17
      Replying to ©duns.scOtus
      Broke: Race is genetic
      Woke: Race is cultural
      Bespoke: Racism is genetic, kill all white people
                          l1
                                                                                 Exh. M-8.Tagged 12/25/19
https://twitter.cpm/p m aa/status/1207037959620431873




                                                                                            EXHIBIT M
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        Helgard Miilier @MullerHelgard ■ Dec 16
        BLACK woman wants to KILL all white babies.

        Do their evil spirits know that they (the tares) are the ones that will be
        harvested first? Matthew 13:30




                1 Co.:))'View;



        V 320                    Li 384              468
                                                                                     Exh. M-9.Tagged 12/25/19
https://twitter.eom/MullerHelgard/status/1206542588204978176




            HAMAS PALESTINE
         y (atb4ng yus


 Lets kill jews and kill them for fun
 #killjews
 7/20/14, 8:05 AM                                                                    r- l      -r     J «««/.«r- /.« a
                                                                                     Exh. M-10.Tagged 12/25/19
http://theconversation.eom/hate-speech-is-still-easv-to-find-on-social-media-106020




                                                                                                    EXHIBIT M
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          Trib
          i&Ttt'unii


 playing with my Hebrew niggas be like




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2 P.;r/.v>iU     7 lil.ii
                                                             Exh. M-11. Tagged 12/26/19
https://twitter.eom/Trbunls/status/1207754150970310656

          8l«rdyQ3«


 Pc'fV irg » ^tiOchdlMQhtin




 lOCCAM        Iun5 30!9 T«in«(     Android




                                                            Exh. M-12.Tagged 12/26/19
https://twitter.coin/Bolt DaldaDawg/status/1136271980557213703




                                                                         EXHIBIT M
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         S«c«a«Qe««a



 r^rf'VirKito ^bdcfiilMQhtin




           Cet«}.f«£
          (tOWeXTRA
          STWEKGTH




 HZj^M      lurnS iOVi T»irnoi tor iPhons



 1           7 LiV^
                                                          Exh. M-13.Tagged 12/26/19
https://twitter.com/Zenlion /status/1136655818567376896




         Kalooroto
        'f'Maa^SiUi

EerV 103 w0bitctebfghtin




         BAN ALL
         WtllTEROncI
          WHATS                             m




n 14AM     IpnSjOIQ    TwHttf tor ibhonj




                                                          Exh. M-14.Tagged X2I26I19
https://twitter.eom/MaxaVeLLi/status/1136290207832129536




                                                                      EXHIBIT M
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        t STWr DANGEROUS O i5''c3 1^16
 4^       FUCKOONAIDTKUMP!

               3U              ■ . llf.»


          K«vinJOavii
 IjPcy ij')cr<in±j'.t:lc3K.i
 rop'/'f»p>:'^r'3

 THE TREND OF NO LETTIN' UP!




 1 t j AM Oi'zCO^OI!} Tnutaf fc* iftons



2              2L
                                                         Exh. M-IS.Tagged 12/26/19
https://twitter.eom/i/status/1207906511923507201



         Key
         il'.IP-r/rob:'

LMAOOOO WHO TF MADE THIS!?!?




542 f'M (fe; 17 2019 Twlttei Mola StuJo



52Kr.;Tr.w4A     1J42Kt:l.i;
                                                         Exh. M-16.Tagged 12/26/19
https://twitter.eom/i/status/1207068500969349121




                                                                     EXHIBIT M
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          \ artafo ^


 Usman whooping Covington's ass fi'UFC245




      k        ■




15$                ?70
                                                             Exh. M-17.Tagged llll^llS
https://twitter.eom/6footvato/status/1206104316366319616/photo/l




                                                                         EXHIBIT M
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          K«lgard Miilter
          iI'Muifetrtjl-jitd


They hate you not just because you are WHITE, but
because that you have the LIVING SOUL within you and
they DON'T.




lOCriAM                        TA-steifo<Andiod



74 fcr/.«>iU    8S He:
                                                            Exh. M-18. Tagged 12/26/19
https://twitter.eom/i/status/1204779395224932353

           PbillygirlQtS
  MbJ/ '|ipnee<K794ST0
  PeP'>/ ir>3 »<?■ tojAnn*«d jnJ      I           ta a SC

  #LentngradLindsey is a straight up peckerwood.
  0 i'3 f'M DxIS^OI'j TWtttftt Vi'cbApp



                                                             Exh. M-19. Tagged 12/26/19
https://twitter.conn/ianise62794570/status/1206358087382249473




                                                                         EXHIBIT M
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        yeah?+


F'-:p^/tng »ij'l.haa jnst ^fChitnireshbirKard Jothois

There's literally a # called #killv/hites how is that not
racist?? And tweets like this



                  Yusra




  PIz Allah give me strength to not
  cuss/kill these men and white folks
  out here today. PIz pIz pIz.
                                        •       Toronto, Ontario


  5


7 11 PM 'On 17 201'y ViRQtfor iPtcyio                              Exh. M-20.Tagged 12/26/19

https://twltter.com/oh whvtho/status/1184970166632886272




                                                                              EXHIBIT M
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           Botre
           it lonjlC'iiF.ji

 @HillaryClinton I cannot believe this man was allowed to
 be president absolutely disgusting.. We must find a way
 to impeach him.
 #NotMyPresident #Dumbassincharge #KillWhites




           ;■                        ■




 S.10 PM   Nc ;J iul 7        Jnst^i Web C l*jm




                                                            Exh. I\/I-21. Tagged 12/26/19
https://twitter.eom/LongLossBoi/status/934185037S44742912/Dhoto/l




           leroyjenkiat III
           itracetter.;'/

What the fuck is up ppl ^kiilv/hites
 ■721414   lun'5 2011    Twitter for Wirctr/.^ Pluoi



           ■;'                      ri
                                                            Exh. M-22. Tagged 12/26/19
httDs://twitter.com/racistlerov/status/7881393036S005824




                                                                          EXHIBIT M
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        W^kiag Up
        ',?> U'iA'A'3 kingUpM w

 #KillVi/hites #TakeUsDown we are the problem - simply
 exterminate yourself and take your #ConfederateFlag with
 you



                      tflateUsOawti:The next seep in white nilsself-laathing!
                      IL4tJ'3U4>5E3r»3CONTENT W.4PNirjO) <33-,m Mclnr>s' trott>?t
                      M iVii y.3 rru to ta nd ti>i Conftji^rate f ttg ■ ttte US a ndCa ruda
                        joutut'icc'm



 40UM lulJCOlE TfcittetWebClRnt



                                  Ui
                                                                                                         Exh. M-23.Tagged 12/26/19
httDs://twltter.com/USAWakingUpNow/status/617060713731854336




           ©kathygnffin

 Ps. The reply from the school was pathetic and
 impotent. Name these kids. I want NAMES. Shame them.
 If you think these fuckers wouldn't dox you in a
 heartbeat,think again.

       Kathy Griffin @ ©kdthygnffin ■ Jan 19

                                                                   Think Progress O

            »c f JV        S f IXX' Sc fuuJ     !V

                                                              eo shc.vs'March For Life" students in
                                                             .GA apparel mocking Native American
                                                             eran tt-ifTkfxogress orn'"V!'r;h foi tile




 5:05 AM     Jan 20, 2019 T»vitter for iPad


 5.6K Rehveeti          26.8K Likes
                                                                                                         Exh. M-24.Tweet 01/20/19
https://twltter.com/kathvgriffin/status/1086927762634399744




                                                                                                                     EXHIBIT M
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Racial Consciousness @Ndture.aricl_R.dce ■ Feb 19
Once again, non-whites slamming a White person into the concrete and
stomping on his unconscious body.

Once again, this isn't a fight. This is attempted murder.

White people, wake the fuck up. Don't venture out alone. And start
DEFENDING YOURSELVES.




        267.21'vit-wj


From Lord Sweek Hamilton

Qy 310                  l i 1-31:       C 3.21
                                                                       Exh. M-25.Tweet 02/19/20




                                                                                   EXHIBIT M
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EXHIBIT N
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    Exhibit M- Twitter's Favoritism Towards Non-
                                                         Whites
      Nihal Nljjar @RoccoDonte Dec 17                                       ^
      I have this weird obsession with wanting to bitch slap every contestant
      on AGTS
                                                    1
                                                                                 Exh. N-1. Tagged 12/26/19
https://twitter.eom/RoccoDonte/status/1207082220592287745


      barmello xanthony igxanrmchaeiv ■ Dec 17                               ^
      Just saw a tweet saying T don't want to have to explain to my child why
      two women are kissing on a hallmark channel commercial' have u ever
      wanted to bitchslap someone thru Twitter
                           11                  e; 2
                                                                                 Exh. N-2. Tagged 12/26/19
https://twitter.eom/xanmichaelv/status/1207004627301998594

                  £is3ic              ■!seliz2le_0212   Dec 8
       I would bitch slap his ass into the next year holy shit

        © Akeem 'gJAkeernShao-ial ■ Dec 3
        Bayangkan kau kena camtu ngan husband kau.




                                                                  ■!-u ■/ ■




       c ^   1
       S.^   1             TJ 4                 O 3t
                                                                                  Exh. N-3.Tagged 12/26/19
https://twitter.com/elizzle 0213/status/1203568265529831424




                                                                                             EXHIBIT N
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       Wally ©vValiyf'Jdte ■ Dec i                                        v
       I jst hope you realize your career is at stake

       Thts a bitch slap doe 0

            TSWANA MAN WITH SOME POWER ©George.Mogw                f jov 30
        #Flame assaults fan*•        ^




                                                               ^              Exh.N-4.Tagged 12/26/19
https://twitter.eom/WallvNate/status/1201025654407520256




  ^ lord huening kai; txt au              AiPREM^CiST Nov 27
    , Replying to ©SOOMPl
       HOW DO I BITCH SLAP SOMEONE FROM THE INTERNET-

                          T 1   1              w   73
                                                                              Exh. N-5.Tagged 12/26/19
https://twltter.eom/KAIPREMACIST/status/1199587292257501184




                                                                                         EXHIBIT N
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         Aaliaa Monique 2
         f§'3nnnniqi>i

Ma boys did theirs




1 2'i A ?.1 Mc«     JOl'5 Tvi-«ai foi tPhom



28PcrA»2.iU       2(WUtea
                                                             Exh. N-6. Tagged 12l26ll9
https://twitter.com/annnniaue/status/1197749012687773699

         JUUY IS SEEING ATEE2



WHO TF SAID JUNGKOOKs TAnOOS R UG*Y YALL
BEHER STFU BEFORE I BITCH SLAP U TO MARS




From littl« BlackBoy

915AM Hc'»23.^0I9               lo«iPltx»



J Fef't'OcrU   IS Irloa
                                                             Exh. N-7. Tagged 12/26/19
https://twitter.com/namioons kink/status/1198243792853307392



                                                                         EXHIBIT N
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            sexi lexl @-5 dl35le:<ie • Mov 15
            Everyone irritates the fuck outta me I wish I could bitch slap everyone
                                   u               O 44
                                                                                      Exh. N-8. Tagged 12/26/19
https://twitter.com/salaslexie/status/1195493996329459712

        soeydollazO
i
Whoever this is gotta get smoked v.iV




9 3?P'M [>:< 13,2019 Twstst tonPtoro


 l1j6K?.er/.v^u   27iKl4.i:
                                                                                      Exh. N-9. Tagged 12/26/19
https://twitter.eom/ZoevDollaz/status/1207489151815299080

https://twitter.eom/i/status/1207489151815299080




                                                                                                  EXHIBIT N
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           bbcivHtlad

#             t irilim 3C/0

 Repf/inp to $>2ooyOol&z

 Me walking into the court room knowing I've killed
 everyone who participated in that violation!




 I 53.4M C^19,i01'5 Twitter    iPh3(K


 12K forovic-u      8.7KM«

                                                             Exh. N-10. Tagged 12/26/19
https://twitter.eom/lintimacv0/status/1207549554909995009

          YOB KCUF (» &
          ||»/dEni n j

fepv 103 to(&2oay0oltii

Me shooting at her whole family




  ^ 1 lO.D:vV:-r,-:


 tin PM Op; is.2019 Twmotfor iPtom


727 r.err.»3c-ts   42Klil<ii                                 Exh. N-11. Tagged 12/26/19
https://twitter.eom/KvdEmmv/status/1207513838419099648


                                                                          EXHIBIT N
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        FxkryAd^ote ^4^0


Mi a floor him bic tuh^ wait till mi reach home u beat
 mi. Brite!




 Hi;AW i«;. 7 ;OI'i Tftitwi »c<An30C)


 186 Fer/.v»u   558 l.ts:;
                                                          Exh. N-12. Tagged 12/26/19
https://twitter.eom/i/status/1170361677734469636




                                                                       EXHIBIT N
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         Hot8oy4l4
         it<3:cnMuu:J14


 Introducing to u Thee 'Glock-Glock Slide'




                                                                ODi.'Ot^   r|))


S45f'M Auji/.iOI'j T».inof 1o» iProns


54.7K            12S.JKLi.i;
                                                                                     Exh. N-13. Tagged 12/26/19
https://twitter.eom/GoonMusic414/status/1166512839357542400



        Btatoa



A Brazilian studying Brexit midfielders. Shameful.
Ronaldinho needs to bitch slap this ingrate.

 O MaaUait«<lZoa«                              )9
 Persia'Ta sudyingybacsofhsa ECancU.ro studjringvdeosolScholesy-aaihe
 ptayeisfioo UniMdwhopbyedintheaidile.butespecaIVhiai teausehewasan
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 aiea.~CMUfC



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27
                                                                                     Exh. N-14. Tagged 12/26/19
httDs://twitter.com/NeoDinero/status/1207685930942902274




                                                                                                  EXHIBIT N
               Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 50 of 85


          John Garni*
          li' bhrf-utut-J


 Meghan should just go down the table and bitch slap all
 of them bitches. Whoopi is annoying AFII #TheVievv




   * it

               V '




                            SLAP!
 lw20PM Ox It; 2013 TWittoiV/ebApp


 t reT/.\»t   2 UI.X
                                                                  Exh. N-15. Tagged 12/26/19
https://twitter.eom/JohnGurule4/status/1206625083176833026

              Omaro ^
              ©irrnohaslii

  Replying to CiAhmedGureyOI

  I really want to bitch slap some sense in him,faro
  gorgor style




  9:Ci5 AM • Dec 13, 2019 ■ T»vitter for iPhone


  2 Likes


                                                           t
               Q                     O                     L.CJ

                                                                  Exh. N-16.Tagged 12/26/19
https://twitter.eom/irmohashl/status/1205488896685072387




                                                                               EXHIBIT N
            Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 51 of 85


        -FUCKCHRISTMAS.
        @ild>yytersbitch

this video is old af we don't need people to start
quoting it with "don't bitch slap ur sub with their mouth
open" again, we know and we are tired of being
 reminded^




 From darius


 11:50 AM     Nov 50, 201'? T»vitter for iPhone


 5 Re^veets     34Lii:ej
                                                            Exh. N-17.Tagged 12/26/19
httos://twitter.com/slawvtersbitch/status/1200819446891327489




                                                                        EXHIBIT N
            Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 52 of 85


            FUCK CHRISTMAS
           ®5la>r/tersbitch




 2:25 PM    Dec 10, 2019 Twitter for iPhone


 7 Retiveets   10 Likej


                                               t
           Q                  n               LlJ


                                                       Exh. N-18. Tagged 12/26/19
https://twitter.eom/slawvtersbitch/status/1204482337137922049




                                                                    EXHIBIT N
         Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 53 of 85


        Perc connoisseur
        '©yjchr.'felloff

 Replying to ©Blockaye

 Njggas pulling up wit a B23R wyd??


                                   mSam^




                                                       Exh. N-19. Tagged 12/26/19
Childs face blocked out by Plaintiff.
https://twitter.eom/vachtvfelloff/status/1207867570616983563




                                                                     EXHIBIT N
       Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 54 of 85


      Timoteo
           ormoiiseur



 Hear me out,just assassinate the nigga^




                                                       Exh. N-20. Tagged 12/26/19
https://twitter.eom/TitvKonnoisseur/status/1207504108053319682




                                                                    EXHIBIT N
           Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 55 of 85


          Reza Asian <
          'jgjrezddsljri


 Honest question. Have you ever seen a more punchable
 face than this kid's?




 9:W PM     J3n 19. 2019 Tv/itter for iPhone


 3.9K P.enveetv    22.9K Like;
                                                        Exh. N-21. Tagged 12/26/19
https://twitter.eom/rezaaslan/status/1086806539552284672Pref src=twsrc%5Etfw%7Ctwcam
p%5Etweetembed%7Ctwterm%5E1086806539552284672&ref url=https%3A%2F%2Ffreebeaco
n.com%2Fblog%2Fmavbe-reexamine-vour-life-if-vou-want-to-punch-a-kid-in-the-face%2F




                                                                       EXHIBIT N
            Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 56 of 85


          Rap All-Stan 1
          ©RapAIISt^fi


 Snoop Dogg wants ail the smoke with Gayle King




                                          duiSSi9




  S.CC' i^iVI Feb 6, i'CC'O Tv/itter for iPhone


 4.3K Reuveet?      112K Likes
                                                         Exh. N-22. 2/6/2020
"Gayle King, out of pocket for that shit, way out of pocket," Snoop Dogg can be heard
saying in a video posted to Twitter on Thursday."What do you gain from that? I swear to
God, we the worst. We the fucking worst."
"We expect more from you, Gayle," added the Bitch Please rapper."Don't you hang out
with Oprah? Why are y'all attacking us? We your people. You ain't coming after
fucking Harvey Weinstein asking them dumb ass questions. I get sick of y'all."
"I wanna call you one," said Snoop Dogg."Is it okay if I call her one? Funky dog-head
bitch. How dare you try to tarnish my mother fucking homeboy's reputation? Punk
mother fucker. Respect the family and back off, bitch, before we come get you."




                                                                        EXHIBIT N
Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 57 of 85




EXHIBIT O
               Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 58 of 85




                                              Exhibit O- Hanging

         Wiaaw At«aze
         '£'iV.4va3rs


^Sv/itchOffKPLC this monopoly is swindling Kenyans there
hard earned cash,this time round Kenyans should be
given a waiver.we should pay half of what we've been
paying.Arrest these individuals and let them be hanged.
KPLC is owned by cartels!!!!!!!!
@DCI_Kenya
535.AM C^:24 20)y T».RtatJewAn4«:<J




                                                              Exh. 0-1. Tagged 12/26/19
https://twitter.eom/WAteaze/status/120942182232S854209


         All Hana Rixxi



 Today, if the government of Pakistan claims that it will
 make Pakistan the state of Medina, then Junaid Hafeez
 should be hanged as soon as possible.

 #TLP

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 12 rer/.n«u    16 Ole:



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                                                               Exh.0-2. Tagged 12/26/19
https://twitter.com/AIIHamzaReal/status/1208794662842118144




                                                                          EXHIBIT O
                  Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 59 of 85




         Uscaaa All

€
Multan court verdict is on the eyes..
The Maloon should be hanged as soon as possible...
 There is still a 295C law in Pakistan so that the Dutch
pig's eyes can be opened.




                                              soonios



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   tnautngfD.utcmplatsgu^^




       A cbbcUiMi^ic^it W Acbbosh M ctlto ?


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                                                                  Exh. 0-3. Tagged 12/26/19
https://twitter.com/usmanal33277131/status/1208767539423186945

           Troll Baktlii



 Modi & amithshah should be hanged to save india

 #!ndiaHatesModi



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                                 Ate




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 12 5SPM C^2! 2019 TwstorteiAndajxJ



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                                                                  Exh. 0-4. Tagged 12/26/19




                                                                              EXHIBIT O
                  Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 60 of 85




https://twitter.eom/trollsanghis/status/1208446582057771009



           11 (Si)l)
           '?•te'llGa ngSc'lli.

These judges needs to be hanged in front of everyone.
#WeStandV/ithPakArmy
5 5s;.4M Oxly.;o1'3 TriittiifJwAniocJ



2J f!.3U.v>:-ts   21111.;::
                                                           Exh. 0-5. Tagged 12/26/19
https://twitter.com/DadaGangRocks /status/1207675934834384897

           EngrMiaaAysb
           'I'En^'MonA'/ut

This man should be hanged as soon as possible, he is the
biggest traiter of Pakistan.




                                                   HANG
                                                       Z
                                                   SHARP

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                                                             Exh. 0-6. Tagged 12/26/19
https://twitter.eom/EngrMianAvub/status/1208032660884480002




                                                                         EXHIBIT O
          Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 61 of 85




     HX

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life sentence isn't enough he should be HANGED to
death.our judiciary had decided 25 lakh rupees for the
agony and pain that victim's family had undergone till
today, he should atleast pay them 1 crore (sounds funny
but he should pay that money)
#KuideepSengar #UnnaoCase




  Ex-BJP MLA Kuldeep Sengar jailed for life
  for raping minor girl in 2017                           Exh. 0-7. Tagged 12/26/19
https://twitter.eom/meharikiran/status/1207949760222523393



      GliazalaQBrMbi                9h


      HaBgaOthesetxtenaftetDlifqtactooneyfioia thao




                                                           Exh. 0-8. Tagged 12/26/19
https://twitter.com/GhazalaQureshi5/status/1210143488949587969




                                                                       EXHIBIT O
         Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 62 of 85



     Af««ba Kattaa.|?'^r•job]^a;L3a. 6h
     Do usa favoui. Hang thesQtetr^le boteiswho hoOswedtha nottof takinan.




                                                                              Exh. 0-9. Tagged 12/26/19
httDs://twitter.com/areebahassan /status/1210185675888365568



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                                     the Insafians
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                                      demanding
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https://twitter.eom/vaslnshahz/status/1210137580609712129




                                                                                          EXHIBIT O
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EXHIBIT P
         Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 64 of 85



                            EXHIBIT P- Twitter Facilities

TWITTER SAN FRANCISCO



10th Annual Inspiration Awards - SOLD OUT
BRIDGEGOOD
Tuesday, November 12. 2019 from 5;15 PM to 8:45 PM (PST)
San Francisco. CA




  TICKET TYPE                                  REMAINING   SALES END   PRICE    FEE     QUANTITY


  SOLD OUT - VIP Dinner Table Ticket           Sold Out    Ended       $300.00 $6.99     Sold Out
 For Champions of BRIDGEGOOD's work in
 our community:Sealing at VIP table
 (prime stage view);Table shout-out from
 MC Buffet Dinner (priority); Access to
 student showcase; Access to awards
 ceremony; Access to entertainment


  SOLD OUT - Dinner Table Ticket               Sold Out    Ended       $150.00 $3.99     Sold Out
  For Supporters of BRIDGEGOOD's work in
  our community: Table seating with
  sponsor; Buffet Dinner; Access to student
  showcase; Access to awards ceremony;
  Access to entertainment



  SOLD OUT - Community Ticket(non- Sold Out                Ended       $50.00   $1.99    Sold Out
  seated)
 (NON-SEATED)For Small Businesses,
 Nonprofits, or Social Good Organizations:
 Standing at tall boy or community seating;
 Buffet Dinner (after tables finish); Access
 to student showcase;Standing room
 access to awards ceremony


  SOLD OUT - Student Ticket (non-              Sold Out    Ended       $30.00   $1.59    Sold Out
  seated)

                                                                        Exh. P-1. Event 11/12/19
https://www.eventbrlte.com/e/10th-annual-lnspiration-awards-sold-out-tickets-
68545985889#




                                                                                      EXHIBIT P
         Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 65 of 85


        Oakland Digital^
  o     'gJOaklanciDigital
 BREAKING NEWS: Inspiration Awards 2019 is taking
 place at Twitter San Francisco on November 12!
 Honoring community leaders from #Adobe
 #KaiserPermanente #Twitter & #WellsFargo - benefiting
 #BRIDGEGOOD. Limited seating and sponsorships at
 inspiration-awards.com




                                                   INSPIRATION
          INSPIRATION                              AV.'ARDS : 2C'9
           AWARDS : 20i9

              NOVCUOER                12

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 o Oakland Digital and 9 others

 6:W PM Sep 13. 2019 Twitter Web App


 9 Rebveeti   S Likes
                                                                     Exh. P-2. Event 10/13/19
https://twitter.com/Oal<landDigital/status/1172632283150307328




                                                                                EXHIBIT P
            Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 66 of 85


           Twitter Women0
           ©TivitterVVomeri


 Thanks, @ChelseaClinton for stopping by ©TwitterSF
  last week!#ShePersistedAroundTheWorld




 A Chelsea Clinton


 2:56 PM    Feb      2019 Tvntter Web Client


 14 Retiveets     96 Likes
                                                        Exh. P-3. Event 02/19/19
https://twltter.eom/TwltterWomen/status/1097948156594016256




                                                                   EXHIBIT P
             Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 67 of 85


                   San Francisco <
                     F



 Thanks to ©EmBKoch and @JiniHogan220for
 performing a bit of @WaitressMusical for us! C

 Can1 wait to see the full show ©shnsfl #WaitressSF




 4:06 PVl • Nov 1, 2018 Twitter VVeb Client


 6 Retweeti     32 Likes
                                                            Exh. P-4. Event 11/01/18
https://twitter.eom/TwitterSF/status/lQ58087999739617280

            bonappetweet
            'gbonappettveet

 Having fun. Come join us at the Commons on the 9th
 floor Market st.




 12:07 PM May 18, 2013 Twitter for iPhone


 11 Likes
                                                           Exh. P-5.Tweet 05/18/18
https://twltter.eom/bonappetweet/status/997509013351747586/photo/l




                                                                       EXHIBIT P
            Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 68 of 85




           bonappetweet
           IIKTwftt;




                                                                   ^FoUow^
 bonappetweet
 f&bonappehvcet
 Bon Appetit Management Co., on site ©Twitter HQ -cooking up delicious,
    sustainable food #from scratch ^ to keep you tweeting all day. %
 © 9th &• Market Street c? cafebonappetit.com/twitter (03 Joined July I'On
 3,789 Follovving      14.4K Followers
 Mot follo'"ve'.l by anyone you're r'ollo-ving

                                                                             Exh. P-6.Tagged 12/26/19
https://twitter.com/bonappetweet

          Twitter San Franclsoo O
           ©TwitterSF


 Thank you to the ©BwayColorPurple for visiting us at
 ©TwitterSF today, and for treating us to a special
 performance!




 A The Color Purple

 5:45 PM ■ May 10, 2018 Twitter Web Client


 6 Retweets      26 Likes
                                                                              Exh. P-7. Event 05/10/18


                                                                                         EXHIBIT P
          Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 69 of 85


https://twitter.eom/TwitterSF/status/994695033969405953/photo/l

         TwitterU Recruiting ^
         @TvvitterU


 Thank you to all the students from University of Tokyo
 who visited us today @TwitterSFI




 8:23 PM ■ Sep 14, 2016 Twitter for iPhone


 9 Rettveeti   31 Likej
                                                               Exh. P-8. Event 10/04/16
https://twitter.eom/TwltterU/status/776214900884512769/photo/l




         Omid KordestaniO 'g)omidkordest.3rii Sep 13. 2016
 a       International STEM Women at Twitter ©TechWomen




         Q)                T 2l 82           C 299
                                                             Exh. P-9. Event 10/14/16
https://twitter.eom/omidkordestani/status/775880662301630464




                                                                         EXHIBIT P
          Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 70 of 85




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    kenamp.oom


    Twitter Office In San
    Francisco
    Twitter Office In San Francisco Looks Twitter Offices Cafeteria Called The
    Pinterest Twitters New Headquarters In San Frandsco Wacky Workplaces
                                                                                 Exh. P-lO.Tagged 12/26/19
https://www.pinterest.com/pln/843650942681722462/




                                                                                            EXHIBIT P
         Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 71 of 85


TWITTER WASHINGTON DC

   Monday,September 30,2019
  8:30 AM-10:00 AM EST
   Category: ADWKDC



 ADWKDC 2019 Event Hosted by Twitter, D.C.
 Win Big with Launches
 Breakfast Lecture




 WHERE
 Twitter, D.C. // 800 Connecticut Ave. NW,Washington, DC

 WHEN
 Monday,September 30,2019 // 8:30-10 a.m.

 Whether it's a new brand, product, feature, message,or promotion, the way you enter the market matters and
 has a ripple effect on future success. Successful launching now requires a new mentality from marketers.
 You must have the confidence to go big on your launch, or risk long-term failure. This session will unveil new
 research, discuss the elements every brand needs for a successful launch, and explore how launch best
 practices vary by brand and category.

 Please RSVP by Monday,September 23.(Please note: You must RSVP to in order to attend.)


                                                                           Exh. P-11. Event 10/30/19
https://www.aafdc.orR/index.php?option=com ievents&task=icalrepeat.detail&evid=23&ltemid=115&v
ear=2019&month=09&dav=30&title=adwkdc-2019-hosted-event-twitter-dc-win-big-with-
Iaunches&uid=f890195e82428f33eccc48dc94969b54




                                                                                            EXHIBIT P
                 Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 72 of 85


         0aa3oCeat«BO
         (I'Dany-aCenterc'

Today we got together with the @TwitterDC team and
packaged 10.000 meals for @Rise2030 and it was
awesome! #Tv/itterForGood #2030ispossible



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ii            global movemeni to end woM hunna.h..

              > This is possible:




                     aoamsr mumms
                                          #2030isPo88ible




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                                                                  Exh. P-12. Event 11/14/19
httDs://twitter.com/DanvaCenteno/status/1195025849017344006




                                                                               EXHIBIT P
                 Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 73 of 85


           TwiturOCO
               T«tn.;-(1X


 That's a wrap! 10,584 meals are assembled and en route.

 Thank you, @Rise2030.

 ^Tv/itterForGood #2030isPossible




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 5 (Vr/.v.ni     21 l ie:
                                                           Exh. P-13. Event 11/14/19
https://twitter.eom/TwitterDC/status/1195014400S26168065




                                                                        EXHIBIT P
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         Twitter DC^
                ■itterDC


 Well hello Madam Secretary^




 a Madeleine Albright and Colin Crowell

 6:14 PM Mov 12, 2019 Twitter Web App


 11 Renveet."     82 Likes
                                                           Exh. P-14. Event 11/12/19
https://twitter.eom/TwltterDC/status/1194393066007908352




                                                                       EXHIBIT P
                     Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 75 of 85


               Twitter DC0
@              '©Tv/itterDC


iftA conversation with Congresswoman
 ©TulsiGabbard. Watch and Tweet with #VetsRising.




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  @ Twitter DC O @Twittet DC
  TwitterDC was LIVE
  . ■ pscp.tv


 4:05 PM ■ Jun 25, 2018 ■ Twitter Web Client


 67 Pietweets                120 Likes
                                                                                                                        Exh. P-15. Event 06/25/18
https://twitter.eom/TwitterDC/status/1011339500461723650




                                                                                                                                     EXHIBIT P
            Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 76 of 85


          Twitter DC^
          @TvvitterDC


 Not ail heroes wear capes. ; ^

 Thank you for sending your best to restore the cold
 brew, ©CommonwealthJoe!




 1:07 PM ■ Oct 2'P. 2019 ■ Twitter for iPhone
                                                                                       Exh. P-16.Tagged 12/26/19
https://twitter.eom/TwitterDC/status/1189227148629958656

 ^        Commonwealth Joe
          5 969 T'/ett:




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                                                   Qoinjoxiaroc-iBcrccitrrED




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                                                                        ^Follow^
 Commonwealth Joe
 @C0rn m0n;ve 311 h ,i o e

 CWJ is the leading tech-enabled specialty coffee company offering full-service,
 kegged beverage programs with Nitro Cold Brew and other craft beverages on
 tap.

 ® 520 12th St. S. iirlingtori.      ■S' heoVending.com
 OT] Joined November 2012
 2,042 Following       1,881 Follovvers
 NotfoMov.ecl by anyone you ri foilov.ing
                                                                                       Exh. P-17. Tagged 12/26/19


                                                                                                    EXHIBIT P
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https://twitter.com/CommonwealthJoe

         Anne Steinhardt •SJanne.steinhardt Jun 1 ]
         Replying to e>anne.stemhardt
         Thanks to all the Execs and event organizers for a fantastic event!
         ©s.slate90 ®shellyblaclcf3urn ©littleplatoons ©anujaksingh ©ECGIadden
          ©EmilyRGriffin ©elaineGOODman ©juliejowery ©RolaDagher
         ©chjohnst ©CiscoEWN ©CiscoLive #CLUS




         Connected Women and 5 others

                              TCl 4              16
                                                                                 Exh. P-18. Event 06/11/19
https://twitter.com/anne steinhardt/status/11386Q2172185174016




         Candi Castleiserry
         ©Candi


 Networking Happy Hour ©TwitterDC
 #lncIusionlsHappening|^ @TwitterAlas Can't believe
 forgot to take a selfie @ #GrowTogether$


                    -vv.."-           4




 5:48 PM ■ Oct 11, 2018 Twitter for iPhone


 4 Retvveets   26 Likes
                                                                                 Exh. P-19. Event 10/11/19
httDs://twitter.com/Candi/status/1050503549350752256




                                                                                             EXHIBIT P
         Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 78 of 85


TWITTER NEW YORK

Any Twitter employee cangrab their beverage of
choicefor $2.50down here.




                   L"i ■3'




^                                                           Exh. P-20. Article 05/14/17
https://www.businessinsider.com/twitter-new-vork-office-tour-2017-5#whenever-i-need-a-
caffeine-boost-i-stroll-down-to-the-caf-and-ask-the-barista-to-make-the-ti-special-ti-adeshola-
twitters-head-of-us-sports-league-partnerships-told-us-after-the-tour-in-fairness-im-prettv-
sure-the-tj-speciai-is-iust-a-reguiar-iatte-but-the-barista-piavs-along-everv-time-it-makes-me-
feel-special-7




Coffee isn't theonly drink available inthis office.
There's also beer on tap.




                 C-ij        ■ 11 III


                                                             Exh. P-21. Article 05/14/17
https://www.businessinsider.com/twitter-new-vork-office-tour-2017-5#coffee-isnt-the-onlv-
drink-avaiiabie-in-this-office-theres-aiso-beer-on-tap-lQ



                                                                               EXHIBIT P
           Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 79 of 85




Patronscan listen to some oftheclassic recordswe
found over by thestrawsand sugar packets...




                                                        i. .    ■   ,




^^ -                                                                    Exh. P-22. Article 05/14/17
https://www.businessinsider.com/twitter-new-vork-office-tour-2017-5#coffee-isnt-the-onlv-
drink-avaiiable-in-this-office-theres-also-beer-on-tap-lO




TWITTER ATLANTA

         Twitter Atlanta0
         'giTvvitterATL


 Thank you ©StudioUmbrosia for your amazing work
 greeting us and our visitors every day!




  1 j:54 PM Jun 5. 2019 from Atlanta, GA ■ Twitter for iPhone


  3 Retweet?   13 Like-;
                                                                        Exh. P-23. Tweet 06/05/19
https://twitter.eom/TwitterATL/status/1136315399044313088




                                                                                      EXHIBIT P
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           Twitter Atlanta^
           @T,vitteriiTL


 Amazing event ©TwitterDC yesterday!

   O Twitter DC O ©TwitterDC Feb 27. 2018
   Happening now; We're LIVE ©TwitterDC celebrating #BlaclcHistoryMonth
   with ©RepJohnLewis and ©CapitolHillCBA. pscp.tvAv/bWSYojFtTUVQ...




 11:50 AM    Feb 28, 2018 Twitter Web Client


 2 Like;
                                                                          Exh. P-24. Event 02/28/18
https://twitter.com/TwitterATL/status/968891172969242624




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               Case 1:20-cv-00536-SE Document 1-3 Filed 05/04/20 Page 81 of 85


              Robin Wheeler
              @robin\v


Happy to host so many generous volunteers for
(a)48in48org @TwitterATl Come again soon!




 A Mark Shields and 3 others

 9:12 AM Get 23. 2016 ■ Twitter for iPhone


6 Retweets          16 Likes
                                                         Exh. P-25. Event 10/23/16
https://twitter.eom/robinw/status/790179112648318980




        Tvritt«r Atlanta O
        i|'T««et.4Tl


Hosted a group of women from ©EmoryGoizueta today.
Thanks for the smart questions ladies! Come back
anytime.




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Supporting our local clients with our in office ^VideoNOW
 live stream. Cc ©TwitterNYC




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           Twitter Atlanta O
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 We were proud to support the awesome work of
 @48in48org by hosting breakfast for the volunteers,
 ©twitterforgood




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TWITTER LOS ANGELES

                   Los Angeles0


 Thank you @TXT_bighit for stopping by! #AskTXT




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 7;59 PiVl May 30. jOT? Twitter for iPhone


 7.9K Retweets     30.7K Likes
                                                       Exh. P-29. Event 05/10/19
httDs://twitter.com/TwitterLA/status/1134248101881892869




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 they let me in can u believe ^teenvoguesummit




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                                                                             Exh. P-30. Event 05/10/19
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                   lot Angel*!O


Twitter LA was honored to welcome the #JESIE students
from @UCLA to our office today to discuss
^DigitalMarketing




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We accept this ^ @AlabamaHannah!




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 Thanks ©blackbirds ©clintgrahain ©TheSharkAnthony
 ©ged for hosting me at Twitter HQ in SM. Missed you
 ©jenp see you next time! #Blacl HistoryMonth**

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